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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOHN DOE,                                     :
                     Plaintiff,               :
                                              :
          v.                                  :       Civ. No. 18-2044
                                              :
ST. JOSEPH’S UNIVERSITY, et al.,              :
                 Defendants.                  :

                                         ORDER

       AND NOW, this 18th day of September, 2018, upon consideration of Plaintiff’s Letter

Request (Doc. No. 55) for Reconsideration of this Court’s August 31, 2018 Order (Doc. No. 42),

it is hereby ORDERED that Plaintiff’s Letter Request (Doc. No. 55) is DENIED.


                                                         AND IT IS SO ORDERED.

                                                         /s/ Paul S. Diamond
                                                         _________________________
                                                         Paul S. Diamond, J.
